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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                    AMARILLO DIVISION


  Alexander R. Deanda, on behalf of
  himself and others similarly situated,

                        Plaintiff,

  v.
                                                Case No. 2:20-cv-00092-Z
  Xavier Becerra, in his official capacity as
  Secretary of Health and Human
  Services; Jessica Swafford Marcella, in
  her official capacity as Deputy Assistant
  Secretary for Population Affairs; United
  States of America,

                        Defendants.


             [PROPOSED] ORDER GRANTING PLAINTIFF’S
                 MOTION FOR SUMMARY JUDGMENT
       The plaintiff’s motion for summary judgment is GRANTED. The parties shall,
 within 14 days of this Court’s order, confer and submit a final judgment (or compet-
 ing proposals of a final judgment) for this Court to sign.




                                      ___________________________________
                                      MATTHEW J. KACSMARYK
 Dated: _______________               UNITED STATES DISTRICT JUDGE
